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IED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
POOR QUALITY ORIGINAL

Looney. Patton Se

Case: 4:24-cv- 11129
Assigned To : Kumar, Shalina D.
Referral Judge: Altman, Kimberly G.
Assign. Date : 4/29/2024

(Write the full name of each plaintiff who is filing this TN ETAL Un ‘ PATTON
complaint. If the names of all the plaintiffs cannot fit in IRV

the space above, please write “see attached” in the space
and attach an additional page with the full list of names.) Jury Trial: O Yes O) No

. (check one)
v. Vain .
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(Write ihe full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list ofnames. Do not include
addresses here.)

Complaint for Violation of Civil Rights
(Prisoner Complaint)

NOTICE

social security number or full birth date; the full name of a person known to be a minor;

account number. A filing may include only: the last four digits of a social security number; the year of an
individual’s birth; a minor’s initials; and the last four digits of a financial account number.

or any other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
proceed in forma pauperis.

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access
to electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,

J

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Crore Dosa \

All other names by which yourhave been known:

ID Number AD WhGA

Current Institution Ouks ( ot ctdhaogl Foul

Address 1800 Coechue Wa”
under Me Sanu

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
Make sure that the defendant(s) listed below are identical to those contained in the
above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name ¥ C ar Afi DUNN Udkouaal
Job or Title Cocere none Mey ¢
(if known)

Shield Number — ¥UQKQQOWA

Employer Qako Cocca none Fugit

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x Individual capacity x Official capacity

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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

Defendant No. 2

Name Dae UR ck Cnne Udon

Job or Title Cocca noose Mau

(if known)

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Employer Oaks Coc cec hood Tacit

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Defendant No. 3

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WZ Individual capacity of Official capacity

Defendant No. 4

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II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

0 Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If you
are suing under section 1983, what federal constitutional or statutory right(s) do you
claim is/are being violated by state or local officials?

6h Ainerdonent Que to Grudond UNuguel Danamnery

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
being violated by federal officials?

N/A
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D. Section 1983 allows defendants to be found liable only when they have acted “under
color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia.” 42 U.S.C. § 1983. If you are suing under section 1983,
explain how each defendant acted under color of state or local law. If you are suing
under Bivens, explain how each defendant acted under color of federal law. Attach
additional pages if needed.

RE AXudned

HI. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Hoowgood

Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant
events. You may wish to include further details such as the names of other persons involved in
the events giving rise to your claims. Do not cite any cases or statutes. If more than one claim
is asserted, number each claim and write a short and plain statement of each claim in a separate
paragraph. Attach additional pages if needed.
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A. If the events giving rise to your claim arose outside an institution, describe where and
when they arose.

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B. If the events giving rise to your claim arose in an institution, describe where and when
they arose.

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C. What aete and approximate time did the events giving rise to your claim(s) occur?

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Dz. What are the facts underlying your claim(s)? (For example: What happened to you?

Who did what? Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

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VIL.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?

f Yes

O No

If yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).

Qos Corcetnonal Feat

Does the jail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?

of Yes
O No
O Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where
your claim(s) arose cover some or all of your claims?

a Yes

0 No

O Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your
claim(s) arose concerning the facts relating to this complaint?

x Yes

O No

If no, did you file a grievance about the events described in this complaint at any other
Jail, prison, or other correctional facility?

O Yes
O No

E. If you did file a grievance:

1. Where did you file the grievance?

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What did you claim in your grievance?

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3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? Is the grievance
process completed? If not, explain why not. (Describe all efforts to appeal to
the highest level of the grievance process. )

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F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

WIA

2. If you did not file a grievance but you did inform officials of your claim, state
who you informed, when and how, and their response, if any:

N/A

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies.

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

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VIII.

Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes
rule”?

O Yes

SL No
If so, state which court dismissed your case, when this occurred, and attach a copy of the order
if possible.

WIA

A. Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

O Yes
ar No
B. If your answer to A is yes, describe each lawsuit by answering questions | through 7

below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s) N/A
Defendant(s)
2. Court (if federal court, name the district; if state court, name the county and
State)
N/A
3. Docket or index number

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4. Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending?
C) Yes
O No
f
If no, give the approximate date of disposition. Wy AN
7. What was the result of the case? (For example: Was the case dismissed? Was
Judgment entered in your favor? Was the case appealed?)
C. Have you filed other lawsuits in state or federal court otherwise relating to the

conditions of your imprisonment?

Ww Yes

No

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

I.

Parties to the previous lawsuit

Plaintiff(s) Bo C OG, h. Podtuc.S¢
Defendant(s) Sho Unachsnoen Jeane toon, Sonne FX, Mee Vise

Court (if federal court, name the district; if state court, name the county and

State)

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Docket or index number

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IX.

4. Name of Judge assigned to your case

BB wo deen Elo

5. Approximate date of filing lawsuit
PR Womb 40.9093
6. Is the case still pending?
dt Yes
O No
If no, give the approximate date of disposition. W/ A
7. What was the result of the case? (For example: Was the case dismissed? Was

judgment entered in your favor? Was the case appealed?)

TA Deamon
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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. J understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Marc \ , 20 Q4 .
Signature of Plaintiff ratty te

Printed Name of Plaintiff CraunG Re bottan
Prison Identification # ZSob69ES
Prison Address / 500 Caberhe Hess
Manuke c kt 49660

City State Zip Code

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- Case 1:24-cv-00463-RSK ECF No.1, PagelD.22 Filed 04/29/24 Page 22 of 29

* MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

Additional Information:
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* MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
; PRISONER/PAROLEE GRIEVANCE FORM i CK CSJ-247A
Date Received at Step I Grievance Identifier: | 2 4 L'y7 Ld 14 sid | di 1 A

Be brief and concise in describing your: grievance i issire: 2:
progeduie, refer to PD 63:02.130 andOP, 03. 02.130 availa ice an!

LF wa

Name tpiint first, Tast) Nomber Institution [Lock Number “Dare of Incident} Today’s Date

Crore Pation [256869 [Cer |5-139 Won (0-30-03

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If none, explain why. @¥ e lafned to Severa | ret Otte f| sO sergents

!

. State problem*clearly. Use. separate grievance form’ for-each j issue. _Additionalpages, using plain. pape, may be used,, a
Four copies of each page and supportifig documents must be submitted with this form. The grievance must be submitted
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.

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RESPONSE (Grievant Interviewed? [] Yes No If No, give explanation. If resolved, explain resolution.)

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Date Returned to If resolved at Step I, Grievant sign here.
Grievant: Resolution must be described above. Grievant's Signature Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant
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Case 1:24-cv- -
- °e 24 cv 00463-RSK ECF No. 1, PagelD.24 Filed MeN ftage 24 of 29

MICHIGAN DEPARTMENT OF CORRECTIONS , _ 4835-4206 5/08
PRISONER/PAROLEE GRIEVANCE APPEAL FORM (CPO

Ae
“_

Date Received by Grievance Coordinator Grievance Identifier: | 22h | I o| Ayo} UH rerLAT
at Step: RES G2G DEC 12 2023 - re

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP 1 GRIRESGEIVED .- MRO GC:
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not Be ovided
with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeal it at both Step

II and Step III. JAN 16 2024

If you MY Doc o appeal the Step 1g ef response to Step II, your Rice. be directed to: ELL
brie lOO by 2 lu . If it is not submitted by ie, OfiulegabicAtfane 4

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director's

Office, P.O. Box 20002, Lansing, Micnigan, 48909.

Name (Print first, last) | Number Institution Lock Number Date of Incident Today’s Date
Coa Poston 250404 |ECF | 5/42 \0-253| 1A-4-2 |
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__ STEP II ~ Reason for AppealY. See 05 Kk As Meee LYS ALk Handled Serisuda OF EPEEY:

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DEC 12 2023
) YY e p ) 6-23 Date Retumed to ,
Lottie: (Print) 7+ Da Che Signature jecd ° DEC 20 2023

STEP III — Reason for Appeal

NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director’s Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step IIT; Green, Canary, Pink — Process to Step IT; Goldenrod - Grievant
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STATE OF MICHIGAN

" GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS HEIDI E. WASHINGTON
GOVERNOR
LANSING DIRECTOR

STEP D1 GRIEVANCE DECISION

Rec #: 148089
17A
To Prisoner: Patton #: 356869 3-20 \
Current Facility: . ECF
Grievance Identifier: ECF-23-10-2098-17A
Step III Received: 1/16/2024

Your Step Ill appeal has been reviewed and considered by the Grievance Section of the
Office of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances”.
Upon examination it has been determined that your issue was in fact considered,

“investigated, and a proper decision was rendered.

THE STEP Hl APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Date Mailed: JAN 29 2024

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

ce: Warden, Filing Facility CF

GRANDVIEW PLAZA: P.O. BOX 30003 - LANSING, MICHIGAN 48909
Case 1:24-cv-00463-RSK ECF No.1, PagelD.26 Filed 04/29/24 Page 26 of 29

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” MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
PRISONER/PAROLEE GRIEVANCE FORM “¢ £ CSJ-247A
Date Received at Step I Grievance Identifier: La eye] 4 L p24 | 2 | 44 A py) Al

Name © (print first, i Ins itution

e Cy Cotto ZO464 ECF

What attempt did you make to resolve this issue prior to writing this grievance? On what date? [2 7 ° 2 4
If none, explain why.

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oX WGK coped New © NEw une TENG: nd whs0 dad md ANN el SDK Yrs Ktedhund

WRK
State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.

Four copies of each page and supporting documents must be submitted with this form. The grievance must “ Ne hae
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130. 0, \o-1 24 Our yt he hin e of

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” . . . ~ , % a - Grievant’s Signature .
RESPONSE (Grievant Interviewed? [J Yes i No If No, give explanation. If resolved, explain resolution.)
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Respondents Signature . Date Reviewer’s Signature Date
Tupver— _ fe To he [jr
Respondent’s Name (Print) Working Title Reviewer’s Name (Print) Working Title
Date Returned to If resolved at Step I, Grievant sign here.
Grievant: Resolution must be described above. Grievant's Signature Date

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant
Case 1:24-cv- -
. 4-cv-00463-RSK ECF No.1, PagelD.27 Filed 04/29/24 Page 27 of 29

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4835-4248 5/09

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MICHIGAN DEPARTMENT OF CORRECTIONS
CS3J-247B

a
PRISONER/PAROLEE GRIEVANCE APPEAL FORM ECF

Date Received Bl een Grievance Identifier: |A OAS) | 12 2A | l 2 dr

at Step II:.. _-

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.

The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the gold VED een provided
with a Step I response in a timely manner) MUST be attached to the white copy of this for ve RA QOxrn Step

II and Step ITl.

If yoy should decide to appeal the Step I grievange response to Step II, your appeal should {AN dee h4 LC. F_
4 by /Z [tv Least it is not submitted by Bitée’ it will be considered terminated.
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If you should decide to appeal the response you receive at Step IT, you should send your Step 29 al | ABIES Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909. :

Name (Print first, last) . | Number Institution Lock Number Date of Incident | Today's Date

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STEP we Reason for Appeal Telo not feel Qs if this 5dushon Was handled seriousl - kecescce Repind

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Warden [uxess Du) Choe. —— PaDVAB | Grievant gy
Respondent's Nae (Print) Respondent's Signature Date JEL 2

STEP III — Reason for Appeal

NOTE: Only a copy of this appeal and the response will be returned to you.

STEP III — Director's Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step IT; Goldenrod - Grievant
Case 1:24-cv-00463-RSK ECF No.1, PagelD.28 Filed 04/29/24 Page 28 of 29

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STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTIONS | HEIDIE. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP II GRIEVANCE DECISION
Rec #: 148117
17A
5-26 |
To Prisoner: Patton #: 356869
Current Facility: ECF
Grievance Identifier: ECF-23-12-2292-17A
Step II Received: 1/17/2024

Your Step II appeal has been reviewed and considered by the Grievance Section of the
Office of Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances".
Upon examination it has been determined that your issue was in fact considered,
investigated; and a-proper-decision was rendered... ---.  — Le

THE STEP HI APPEAL IS DENIED.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT.

Date Mailed: JAN 3 0 2028

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

cc: Warden, Filing Facility ECF

GRANDVIEW PLAZA « P.O. BOX 30003 - LANSING, MICHIGAN 48909
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